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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  LAREDO DIVISION


ISMAEL ESCAMILLA, JR.                         §
     Plaintiff                                §
                                              §
V.                                            §           CIVIL ACTION NO. __________
                                              §
JOHN DOE AND AUTO LINEAS                      §
AMERICA, S.A. DE C.V.                         §
     Defendants                               §
                                              §

     DEFENDANT AUTO LINEAS AMERICA, S.A. DE C.V.’S NOTICE OF REMOVAL

        Defendant files this notice of removal under 28 U.S.C. §1446(a).

                                        A. INTRODUCTION

     1. Plaintiff is Ismael Escamilla, Jr.; Defendants are Auto Lineas America, S.A. DE C.V. and

John Doe.

     2. On August 30, 2021 Plaintiff sued Defendants Auto Lineas America, S.A. DE C.V. and

John Doe in the 49th Judicial District Court, Webb County, Texas, alleging that on May 22, 2021,

Defendant John Doe improperly parked his vehicle on a traffic lane, without any use of any

emergency equipment. Plaintiff further alleges that as a result, Plaintiff’s vehicle collided with

Defendant John Doe’s vehicle. Plaintiff further alleges that Defendant Auto Lineas America, S.A.

DE C.V. owned the vehicle driven by John Doe.

     3. Defendant Auto Lineas America, S.A. DE C.V. was served with suit and citation on

December 2, 2021. Defendant files this notice of removal within the 30-day time period required by

28 U.S.C. §1446(b). Bd. Of Regents of Univ. of Tex. Sys. V. Nippon Tel. & Tel. Corp., 478 F. 3d

274, 278 (5th Cir. 2007).




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                                       B. BASIS FOR REMOVAL

    4. Removal is proper because there is complete diversity between the parties. 28 U.S.C.

§1332(a); Johnson v. Columbia Props. Anchorage, L.P., 437 F.3d 894, 899-900 (9th Cir. 2006).

Plaintiff is a citizen of Texas. Defendant Auto Lineas America, S.A. DE C.V. is a foreign company

operating in Mexico.

    5. Defendant Auto Lineas America, S.A. DE C.V. consents to the removal of this case to

federal court. 28 U.S.C. §1446(b)(2)(A); Cook v. Randolph Cnty., 573 F3d 1143, 1150-51 (11th Cir.

2009); Pritchett V. Cottrell, Inc., 512 F.3d 1057, 1062 (8th Cir. 2008); Harper v. AutoAlliance Int’l,

Inc., 392 F3d 195, 201-02 (6th Cir. 2004).

    6. Copies of all pleadings, process, orders, and other filings in the State-Court suit are attached

to this notice as required by 28 U.S.C. §1446(a) as Exhibit “A”.

    7. Venue is proper in this district under 28 U.S.C. §1441(a) because the state court where the

suit has been pending is located in this district.

    8. Defendant Auto Lineas America S.A. DE C.V. will promptly file a copy of this notice of

removal with the clerk of the state court where the suit has been pending.

                                           C. INTRODUCTION

    9. Plaintiff did not demand a jury in the state court suit.

                                             D. CONCLUSION

    10. In accordance with the above and having satisfied all the requirements pursuant to 28 U.S.C.

§1332 and 28 U.S.C. §1441, Defendant Auto Lineas America, S.A. DE C.V. prays that this Court

enter such further orders and grant such further relief as may be necessary to secure removal herein

and prevent further proceedings in the 49th Judicial District Court of Webb County, Texas.

Defendant Auto Lineas America, S.A. DE C.V. further prays for such other relief as they may be




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justly entitled to receive.

                                       Respectfully submitted,

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                                       By:  /s/ Douglas E. Chaves
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                                       AUTO LINEAS AMERICA, S.A. DE C.V.




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                                 CERTIFICATE OF SERVICE


        I hereby certify that a copy of the foregoing instrument has been served upon all counsel of
record to this proceeding by the manner indicated below, on this 22nd day of December 2021.


                                                     /s/ Douglas E. Chaves
                                                     DOUGLAS E. CHAVES

Via e-serve
THE GREEN LAW FIRM, P.C.
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ATTORNEY FOR PLAINTIFF
ISMAEL ESCAMILLA, JR


                            NOTICE OF ELECTRONIC FILING

       I HEREBY CERTIFY that I caused a copy of the foregoing document to be served by the
Electronic Case Filing System for the United States District Court for the Southern District of
Texas on the 22nd day of December, 2021.


                                              /s/ Douglas E. Chaves
                                              Attorney- In Charge




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